Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Big Feet, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6801 Greenacres Place SW
                                  Port Orchard, WA 98367-4504
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kitsap                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.bigfeetpjs.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 24-12880-TWD                   Doc 1        Filed 11/12/24           Ent. 11/12/24 15:36:12                Pg. 1 of 35
Debtor    Big Feet, Inc.                                                                              Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4541

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:

                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 24-12880-TWD                     Doc 1      Filed 11/12/24              Ent. 11/12/24 15:36:12                    Pg. 2 of 35
Debtor    Big Feet, Inc.                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 Case 24-12880-TWD                            Doc 1      Filed 11/12/24             Ent. 11/12/24 15:36:12                  Pg. 3 of 35
Debtor   Big Feet, Inc.                                                           Case number (if known)
         Name

                           $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                           $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                           $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 24-12880-TWD        Doc 1       Filed 11/12/24         Ent. 11/12/24 15:36:12            Pg. 4 of 35
Debtor    Big Feet, Inc.                                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 12, 2024
                                                  MM / DD / YYYY


                             X /s/ John S. Fitzpatrick                                                    John S. Fitzpatrick
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Jason Wax                                                               Date November 12, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jason Wax
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     206-292-2110                  Email address      jwax@bskd.com

                                 41944 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case 24-12880-TWD                  Doc 1        Filed 11/12/24             Ent. 11/12/24 15:36:12                 Pg. 5 of 35
Fill in this information to identify the case:

Debtor name         Big Feet, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       November 12, 2024               X /s/ John S. Fitzpatrick
                                                           Signature of individual signing on behalf of debtor

                                                            John S. Fitzpatrick
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




            Case 24-12880-TWD                    Doc 1         Filed 11/12/24            Ent. 11/12/24 15:36:12              Pg. 6 of 35
 Fill in this information to identify the case:
 Debtor name Big Feet, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 CHANGZHOU DEYI                                      Inventory                                                                                                       $851.00
 IMPORT & EXPORT                                     shipment
 Room 205 Building
 37, Mingyuan
 Tianning District,
 Changzhou,
 Jiangsu, China
 Key Bank NA                                         Inventory of                                       $1,184,272.77                $100,000.00             $1,084,272.77
 Attn: Bankruptcy                                    finished clothing
 PO Box 94968                                        items for resale
 Cleveland, OH 44101
 Key Bank NA                                         All assets of the                                     $245,895.24                 $73,760.56              $245,895.24
 Attn: Bankruptcy                                    debtor
 PO Box 94968
 Cleveland, OH 44101
 Key Bank NA                                         PPP loan                                                                                                    $42,183.00
 Attn: Bankruptcy
 PO Box 94968
 Cleveland, OH 44101
 US Small Business                                   All assets of the                                     $150,000.00                 $73,760.56              $150,000.00
 Admin.                                              debtor
 Office of Disaster
 Assistance
 14925 Kingsport Rd
 Fort Worth, TX
 76155




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                    Case 24-12880-TWD               Doc 1         Filed 11/12/24             Ent. 11/12/24 15:36:12                         Pg. 7 of 35
Fill in this information to identify the case:

Debtor name           Big Feet, Inc.

United States Bankruptcy Court for the:                      WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           161,259.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           161,259.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,580,168.01


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            43,034.00


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           1,623,202.01




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1




              Case 24-12880-TWD                                      Doc 1               Filed 11/12/24                        Ent. 11/12/24 15:36:12                            Pg. 8 of 35
Fill in this information to identify the case:

Debtor name         Big Feet, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                                      $0.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     KeyBank, N.A.                                     Business Checking                     4717                                       $620.00




          3.2.     Green Dot checking account                        Business Checking                     4095                                    $56,872.00




          3.3.     PayPal, Inc.                                      Merchant Account                      SZNS                                     $2,067.00




          3.4.     PingPong - Amazon merchant account                                                      0462                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $59,559.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1



             Case 24-12880-TWD                    Doc 1      Filed 11/12/24            Ent. 11/12/24 15:36:12                    Pg. 9 of 35
Debtor       Big Feet, Inc.                                                          Case number (If known)
             Name


      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of        Valuation method used      Current value of
                                            physical inventory       debtor's interest        for current value          debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          Inventory of finished
          clothing items for resale                                         $255,658.00       Liquidation                         $100,000.00



22.       Other inventory or supplies
          Shipping and packing
          inventory for customer
          order fulfillment                                                   Unknown         N/A                                     $500.00




23.       Total of Part 5.                                                                                                    $100,500.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                           Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                      page 2



           Case 24-12880-TWD                    Doc 1       Filed 11/12/24       Ent. 11/12/24 15:36:12               Pg. 10 of 35
Debtor        Big Feet, Inc.                                                                 Case number (If known)
              Name


      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used      Current value of
                                                                          debtor's interest          for current value          debtor's interest
                                                                          (Where available)

39.        Office furniture
           Office furniture for small office                                          Unknown        Liquidation                             $900.00



40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment (two old computers and
           printers; one cordless phone)                                              Unknown        Liquidation                             $300.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                                $1,200.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 3



            Case 24-12880-TWD                    Doc 1         Filed 11/12/24            Ent. 11/12/24 15:36:12              Pg. 11 of 35
Debtor        Big Feet, Inc.                                                               Case number (If known)
              Name

           General description                                          Net book value of          Valuation method used      Current value of
                                                                        debtor's interest          for current value          debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           https://www.bigfeetpjs.com/                                             Unknown                                               Unknown



62.        Licenses, franchises, and royalties
           GS1 Company Prefix Certificate
           GS1 Company Prefix: 0850036651
           U.P.C. Company Prefix: 850036651
           Legal Entity Global Location Number (GLN):
           0850036651000                                                           Unknown                                               Unknown



63.        Customer lists, mailing lists, or other compilations
           Customer lists                                                          Unknown                                               Unknown



64.        Other intangibles, or intellectual property
           Intellectual property rights to product designs                         Unknown                                               Unknown



65.        Goodwill
           Goodwill                                                                Unknown                                               Unknown



66.        Total of Part 10.                                                                                                                $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                              Current value of
                                                                                                                              debtor's interest


71.        Notes receivable
           Description (include name of obligor)


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 4



            Case 24-12880-TWD                      Doc 1         Filed 11/12/24        Ent. 11/12/24 15:36:12              Pg. 12 of 35
Debtor      Big Feet, Inc.                                                           Case number (If known)
            Name

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities
         Commercial General Liability Coverage
         Liberty Mutual Insurance
         Policy No. BKA (23) 56 96 63 55                                                                                 Unknown



74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                   $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                           page 5



          Case 24-12880-TWD                    Doc 1           Filed 11/12/24      Ent. 11/12/24 15:36:12     Pg. 13 of 35
Debtor          Big Feet, Inc.                                                                                      Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $59,559.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $100,500.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,200.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $161,259.00           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $161,259.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 6



             Case 24-12880-TWD                               Doc 1            Filed 11/12/24                   Ent. 11/12/24 15:36:12                 Pg. 14 of 35
Fill in this information to identify the case:

Debtor name         Big Feet, Inc.

United States Bankruptcy Court for the:           WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Key Bank NA                                  Describe debtor's property that is subject to a lien               $1,184,272.77               $100,000.00
      Creditor's Name                              Inventory of finished clothing items for resale
      Attn: Bankruptcy
      PO Box 94968
      Cleveland, OH 44101
      Creditor's mailing address                   Describe the lien
                                                   Security agreement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2012                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5003
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Key Bank NA                                  Describe debtor's property that is subject to a lien                 $245,895.24                 $73,760.56
      Creditor's Name                              All assets of the debtor
      Attn: Bankruptcy
      PO Box 94968
      Cleveland, OH 44101
      Creditor's mailing address                   Describe the lien
                                                   Security agreement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2015                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5007
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2




            Case 24-12880-TWD                         Doc 1          Filed 11/12/24                Ent. 11/12/24 15:36:12             Pg. 15 of 35
Debtor       Big Feet, Inc.                                                                         Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.3    US Small Business Admin.                    Describe debtor's property that is subject to a lien                      $150,000.00            $73,760.56
       Creditor's Name                             All assets of the debtor
       Office of Disaster
       Assistance
       14925 Kingsport Rd
       Fort Worth, TX 76155
       Creditor's mailing address                  Describe the lien
                                                   Security agreement
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       2020                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7401
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                             $1,580,168.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        1

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Schwabe, Williamson & Wyatt
        1211 SW Fifth Ave                                                                                    Line   2.1
        Suite 1900
        Portland, OR 97204

        Schwabe, Williamson & Wyatt
        1211 SW Fifth Ave                                                                                    Line   2.2
        Suite 1900
        Portland, OR 97204




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2




             Case 24-12880-TWD                        Doc 1          Filed 11/12/24                Ent. 11/12/24 15:36:12              Pg. 16 of 35
Fill in this information to identify the case:

Debtor name        Big Feet, Inc.

United States Bankruptcy Court for the:         WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $851.00
          CHANGZHOU DEYI IMPORT & EXPORT                                       Contingent
          Room 205 Building 37, Mingyuan                                       Unliquidated
          Tianning District, Changzhou,                                        Disputed
          Jiangsu, China
                                                                            Basis for the claim: Inventory shipment
          Date(s) debt was incurred 8/2023
          Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes


3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $42,183.00
          Key Bank NA                                                          Contingent
          Attn: Bankruptcy                                                     Unliquidated
          PO Box 94968                                                         Disputed
          Cleveland, OH 44101
                                                                            Basis for the claim: PPP loan
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                   On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                     related creditor (if any) listed?                  account number, if
                                                                                                                                                        any
4.1       US Small Business Admin.
          10737 Gateway West                                                                         Line     3.2
          Suite 300
                                                                                                            Not listed. Explain
          El Paso, TX 79935


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
5a. Total claims from Part 1                                                                            5a.          $                            0.00
5b. Total claims from Part 2                                                                            5b.     +    $                       43,034.00
Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 2
                                                                                                            27718



             Case 24-12880-TWD                       Doc 1          Filed 11/12/24                Ent. 11/12/24 15:36:12                          Pg. 17 of 35
Debtor      Big Feet, Inc.                                            Case number (if known)
            Name


5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                 5c.     $              43,034.00




Official Form 206 E/F             Schedule E/F: Creditors Who Have Unsecured Claims                           Page 2 of 2




            Case 24-12880-TWD   Doc 1     Filed 11/12/24           Ent. 11/12/24 15:36:12      Pg. 18 of 35
Fill in this information to identify the case:

Debtor name       Big Feet, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Sales, processing, and
           lease is for and the nature of        fulfillment services
           the debtor's interest

               State the term remaining          Perpetual
                                                                                    Amazon.com Services LLC
           List the contract number of any                                          410 Terry Ave N
                 government contract                                                Seattle, WA 98109


2.2.       State what the contract or            Non-Residential
           lease is for and the nature of        Customer Agreement
           the debtor's interest                 (500 gallon AG propane
                                                 tank)
               State the term remaining          Initial term expires
                                                 10/22/2025, then
                                                 month-to-month                     AmeriGas
           List the contract number of any                                          P.O. Box 965
                 government contract                                                Valley Forge, PA 19482


2.3.       State what the contract or            Lease of storage
           lease is for and the nature of        container and ATV;
           the debtor's interest                 $426 per month

               State the term remaining          Monthly
                                                                                    JF Property Leasing Inc.
           List the contract number of any                                          6801 Greenacres Pl SW
                 government contract                                                Port Orchard, WA 98367


2.4.       State what the contract or            Premises lease for
           lease is for and the nature of        operations space; rent
           the debtor's interest                 is $2,900 per month
                                                 plus utilities.
               State the term remaining          Monthly
                                                                                    John Fitzpatrick
           List the contract number of any                                          6801 Greenacres Pl SW
                 government contract                                                Port Orchard, WA 98367



Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2




           Case 24-12880-TWD                     Doc 1        Filed 11/12/24            Ent. 11/12/24 15:36:12                  Pg. 19 of 35
Debtor 1 Big Feet, Inc.                                                          Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Software Services,
          lease is for and the nature of    License and Hosting
          the debtor's interest             Agreement

             State the term remaining       Month-to-month              Miva, Inc.
                                                                        16745 W. Bernardo Drive
          List the contract number of any                               4th Floor
                government contract                                     San Diego, CA 92127


2.6.      State what the contract or        Service Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining       Perpetual
                                                                        Waste Management of WA, Inc.
          List the contract number of any                               720 4th Ave., Ste. 400
                government contract                                     Kirkland, WA 98033-8136




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2




          Case 24-12880-TWD                 Doc 1       Filed 11/12/24      Ent. 11/12/24 15:36:12         Pg. 20 of 35
Fill in this information to identify the case:

Debtor name      Big Feet, Inc.

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1                                                                                          Key Bank NA                        D   2.1
                                                                                                                                   E/F
                                                                                                                                   G




   2.2    John Fitzpatrick            6801 Greenacres Pl SW                                     Key Bank NA                        D   2.2
                                      Port Orchard, WA 98367                                                                       E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1



          Case 24-12880-TWD                      Doc 1     Filed 11/12/24           Ent. 11/12/24 15:36:12                 Pg. 21 of 35
Fill in this information to identify the case:

Debtor name         Big Feet, Inc.

United States Bankruptcy Court for the:    WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $308,743.00
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $918,435.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                               $906,521.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1




            Case 24-12880-TWD                    Doc 1       Filed 11/12/24             Ent. 11/12/24 15:36:12                 Pg. 22 of 35
Debtor       Big Feet, Inc.                                                                     Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              Fashion Clothing                                     8/27/24 and                      $82,512.25                Secured debt
                                                                   9/11/24                                                    Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other Inventory purchases


      3.2.
              John Fitzgerald                                                                         $8,500.00               Secured debt
              6801 Greenacres Pl SW                                                                                           Unsecured loan repayments
              Port Orchard, WA 98367                                                                                          Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other Lease payments for 3
                                                                                                                         months

      3.3.
              American Express                                     Monthly                          $15,668.57                Secured debt
                                                                   payments                                                   Unsecured loan repayments
                                                                   over past 90                                               Suppliers or vendors
                                                                   days                                                       Services
                                                                                                                           Other Regular monthly
                                                                                                                         payments of business
                                                                                                                         expenses charged to credit
                                                                                                                         card.

      3.4.
              Capital One                                          Monthly                          $44,497.20                Secured debt
                                                                   payments                                                   Unsecured loan repayments
                                                                   over past 90                                               Suppliers or vendors
                                                                   days                                                       Services
                                                                                                                           Other Regular monthly
                                                                                                                         payments of business
                                                                                                                         expenses charged to credit
                                                                                                                         card.


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         None

      Creditor's name and address                      Describe of the Property                                        Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2




             Case 24-12880-TWD                   Doc 1        Filed 11/12/24             Ent. 11/12/24 15:36:12                     Pg. 23 of 35
Debtor       Big Feet, Inc.                                                                      Case number (if known)



          None

      Creditor's name and address                     Description of the action creditor took                         Date action was                  Amount
                                                                                                                      taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                              Nature of case               Court or agency's name and                  Status of case
              Case number                                                          address
      7.1.    KeyBank v. Big Feet et al.              Breach of prom               Pierce County Superior                         Pending
              23-2-10711-5                            note; breach of              Court                                          On appeal
                                                      guaranty                     930 Tacoma Ave. S, Rm.
                                                                                                                                  Concluded
                                                                                   110
                                                                                   Tacoma, WA 98402


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                             Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss                Value of property
      how the loss occurred                                                                                                                                lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred                Dates                    Total amount or
               the transfer?                                                                                                                             value
               Address



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3




             Case 24-12880-TWD                  Doc 1        Filed 11/12/24              Ent. 11/12/24 15:36:12                    Pg. 24 of 35
Debtor        Big Feet, Inc.                                                                     Case number (if known)



                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.                                                                                                             11/13/23;
                                                                                                                        12/14/23;
                                                                                                                        1/12/24;
                                                                                                                        2/12/24;
                                                                                                                        3/14/24;
                                                                                                                        4/10/24;
                                                                                                                        6/14/24;
                                                                                                                        7/9/24;
                                                                                                                        7/11/24;
                Bush Kornfeld LLP                                                                                       8/12/24;
                601 Union St., #5000                                                                                    10/11/24;
                Seattle, WA 98101-2373                                                                                  11/12/24                 $23,227.75

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4




              Case 24-12880-TWD                  Doc 1         Filed 11/12/24             Ent. 11/12/24 15:36:12                    Pg. 25 of 35
Debtor      Big Feet, Inc.                                                                       Case number (if known)



               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
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Debtor      Big Feet, Inc.                                                                      Case number (if known)




     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Joy Rogers                                                                                                         2022-2023
                    6253 Ebbert Dr SE
                    Port Orchard, WA 98366

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None




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      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Cory Garnaas CPA                                                                                                2014-present
                    5403 Olympic Dr
                    Suite 103
                    Gig Harbor, WA 98335

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      John Fitzpatrick




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value




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              Name and address of recipient            Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1                                                                                                                         Mr. Fitzpatrick is
      .                                                                                                                            employed by the
                                                                                                                                   debtor and
                                                                                                                                   receives salary
                                                                                                                                   payments on a
                                                                                                                                   semi-monthly
                                                                                                                                   basis in the total
                                                                                                                                   amount of $4,700
                                                                                                                                   per month. The
                                                                                                                                   debtor also leases
                                                                                                                                   is premises from
                                                                                                                                   Mr. Fitzpatrick
              John Fitzpatrick                         Semi-monthly salary payments and                                            and pays him
                                                       monthly lease payments                                                      $2,900 per month.

              Relationship to debtor
              President and sole
              shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:     Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         November 12, 2024

/s/ John S. Fitzpatrick                                         John S. Fitzpatrick
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor     President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                           Western District of Washington
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                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
John S. Fitzpatrick                                         Common Stock 1000                                                Sole Shareholder
6801 Greenacres Place SW
Port Orchard, WA 98367


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date November 12, 2024                                                   Signature /s/ John S. Fitzpatrick
                                                                                        John S. Fitzpatrick

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




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                                                    Western District of Washington
 In re   Big Feet, Inc.                                                                           Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     November 12, 2024                              /s/ John S. Fitzpatrick
                                                         John S. Fitzpatrick/President
                                                         Signer/Title




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                        US ATTORNEY
                        ATTN BANKRUPTCY ASSISTANT
                        700 STEWART ST #5220
                        SEATTLE, WA 98101-4438


                        INTERNAL REVENUE SVC (PHIL)
                        CENTALIZED INSOL OPERATIONS
                        PO BOX 7346
                        PHILADELPHIA, PA 19101-7346


                        US TREASURY
                        SECRETARY OF THE TREASURY
                        1500 PENNSYLVANIA AVE NW
                        WASHINGTON, DC 20220


                        WA DEPT OF REV-SEA
                        BANKRUPTCY/CLAIMS UNIT
                        2101 4TH AVE #1400
                        SEATTLE, WA 98121-2300


                        WA DEPT OF L&I-OLY
                        COLLECTIONS
                        PO BOX 44170
                        OLYMPIA, WA 98504-4170


                        WA DEPT OF EMP SEC-OLY
                        UI TAX ADMIN
                        PO BOX 9046
                        OLYMPIA, WA 98507-9046


                        WA ATTORNEY GENERAL
                        BANKRUPTCY & COLLECTIONS UNIT
                        800 5TH AVE #2000
                        SEATTLE, WA 98104


                        JASON WAX
                        BUSH KORNFELD LLP
                        601 UNION ST., SUITE 5000
                        SEATTLE, WA 98101-2373


                        BIG FEET, INC.
                        6801 GREENACRES PLACE SW
                        PORT ORCHARD, WA 98367-4504




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                    UNITED STATES OF AMERICA
                    INTERNAL REVENUE SERVICE
                    915 SECOND AVE.
                    SEATTLE, WA 98174


                    ATTORNEY GENERAL OF THE
                     UNITED STATES
                    US DEPARTMENT OF JUSTICE
                    950 PENNSYLVANIA AVE. NW
                    WASHINGTON, DC 20530-0001


                    U.S. SMALL BUSINESS ADMIN.
                    420 L STREET, SUITE 300
                    ANCHORAGE, AK 99501


                    U.S. SMALL BUSINESS ADMIN
                    LEGAL DEPT.
                    2401 FOURTH AVE. #450
                    SEATTLE, WA 98121


                    AMAZON.COM SERVICES LLC
                    410 TERRY AVE N
                    SEATTLE, WA 98109


                    AMERIGAS
                    P.O. BOX 965
                    VALLEY FORGE, PA 19482


                    CHANGZHOU DEYI IMPORT & EXPORT
                    ROOM 205 BUILDING 37, MINGYUAN
                    TIANNING DISTRICT, CHANGZHOU,
                    JIANGSU, CHINA


                    JF PROPERTY LEASING INC.
                    6801 GREENACRES PL SW
                    PORT ORCHARD, WA 98367


                    JOHN FITZPATRICK
                    6801 GREENACRES PL SW
                    PORT ORCHARD, WA 98367


                    JOHN FITZPATRICK
                     6801 GREENACRES PL SW
                    PORT ORCHARD, WA 98367




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                    KEY BANK NA
                    ATTN: BANKRUPTCY
                    PO BOX 94968
                    CLEVELAND, OH 44101


                    KEY BANK NA
                    ATTN: BANKRUPTCY
                    PO BOX 94968
                    CLEVELAND, OH 44101


                    KEY BANK NA
                    ATTN: BANKRUPTCY
                    PO BOX 94968
                    CLEVELAND, OH 44101


                    MIVA, INC.
                    16745 W. BERNARDO DRIVE
                    4TH FLOOR
                    SAN DIEGO, CA 92127


                    SCHWABE, WILLIAMSON & WYATT
                    1211 SW FIFTH AVE
                    SUITE 1900
                    PORTLAND, OR 97204


                    SCHWABE, WILLIAMSON & WYATT
                    1211 SW FIFTH AVE
                    SUITE 1900
                    PORTLAND, OR 97204


                    US SMALL BUSINESS ADMIN.
                    OFFICE OF DISASTER ASSISTANCE
                    14925 KINGSPORT RD
                    FORT WORTH, TX 76155


                    US SMALL BUSINESS ADMIN.
                    10737 GATEWAY WEST
                    SUITE 300
                    EL PASO, TX 79935


                    WASTE MANAGEMENT OF WA, INC.
                    720 4TH AVE., STE. 400
                    KIRKLAND, WA 98033-8136




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                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Big Feet, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
John S. Fitzpatrick
6801 Greenacres Place SW
Port Orchard, WA 98367




  None [Check if applicable]




November 12, 2024                               /s/ Jason Wax
Date                                            Jason Wax
                                                Signature of Attorney or Litigant
                                                Counsel for Big Feet, Inc.
                                                Bush Kornfeld LLP
                                                601 Union St., Suite 5000
                                                Seattle, WA 98101-2373
                                                206-292-2110 Fax:206-292-2104
                                                jwax@bskd.com




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